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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:06CR184
                              )
          v.                  )
                              )
STEVE EUGENE ENCINAS,         )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court after having been

advised that the United States Marshal will not have defendant in

the District of Nebraska at the time of his scheduled sentencing.

Accordingly,

           IT IS ORDERED that sentencing in this matter is

rescheduled for:

                 Friday, August 10, 2007 at 1:30 p.m.

Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.

           DATED this 16th day of July, 2007.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
